Case 3:88-cr-00215-HWM-J_T Document 1750 Filed 01/12/06 Page 1 of 2 PageID 1963



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


 ANITA BRYANT FARQUHARSON,

         Petitioner,

                v.                                Case No. 3:05-cv-1075-J-12HTS
                                                           3:88-cr-215-J-12

 UNITED STATES OF AMERICA,

         Respondent.



                                         ORDER

         This cause is before the Court on the Petitioner's "Motion to Vacate, Set Aside, or

 Correct Sentence Pursuant to §2255(3)" (Civ. Doc. 1, Crim Doc.1735), filed October 17,

 2005. The Respondent's motion to dismiss (Civ. Doc.6) was filed on December 1, 2005.

  The Petitioner filed a response (Civ. Doc.7) to the Respondent's motion on December 21,

 2005.

         The Petitioner asserts that the United States Supreme Court cases of United States

 v. Booker, 543 U.S. 220 (2005) and Blakelv v. Washinqton, 542 U.S. 296 (2004) are new

 rules of constitutional law made retroactive to cases on collateral review. As a result, she

 claims that she is due to be re-sentenced in accordance with those cases.

         The Court must grant the Respondent's motion to dismiss and dismiss the

  Petitioner's § 2255 motion without prejudice. The Court is without jurisdiction to consider

  it inasmuch as it is a successive motion' filed without first obtaining permission from the


              This is the Defendant's third 5 2255 motion. See Crim. Docs. 1317, 1232,
  1418 and 1448.
Case 3:88-cr-00215-HWM-J_T Document 1750 Filed 01/12/06 Page 2 of 2 PageID 1964



 Eleventh Circuit Court of Appeal. Moreover, the Eleventh Circuit has held that Booker and

 Blakelv do not qualify as new rules of constitutional law for S2255 purposes because the

 Supreme Court has not made them retroactively available on collateral review. In re

 Anderson, 396 F.3d 1336, 1339 ( I lth
                                     Cir.Z005)(addressing Booker), In re Dean, 375 F.3d

 1287, 1290 ( I lth
                  Cir. 2004)(addressing Blakelv).     Accordingly, it is

        ORDERED AND ADJUDGED:

        1.     That the Respondent's motion to dismiss (Civ. Doc.6) is granted;

        2.     That the Petitioner's third § 2255 motion (Civ.Doc. I,Crim.Doc.1735) is

 dismissed without prejudice for failure to obtain permission from the Eleventh Circuit Court

 of Appeals, the civil case is dismissed without prejudice, and the Clerk is directed to enter

 judgment, close the civil case, and terminate the criminal motion.

        DONE AND ORDERED this           \ \ 7 u day of January 2006.




                                              %dUJ. rn-
                                            SENIOR UNITED STATES DISTRICT JUDGE



 Copies to:
       AUSA (Ronca)
       Petitioner
